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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 IMPLICIT, LLC,                                    §
                                                   §
        Plaintiff,                                 §
                                                   §
 v.                                                §     Civil Action No. 2:18-CV-53-JRG
                                                   §               (LEAD CASE)
 NETSCOUT SYSTEMS, INC.,                           §
                                                   §
        Defendant.                                 §
 IMPLICIT, LLC,                                    §
                                                   §
        Plaintiff,                                 §
                                                   §
 v.                                                §     Civil Action No. 2:18-CV-54-JRG
                                                   §        (CONSOLIDATED CASE)
 SANDVINE CORPORATION,                             §
                                                   §
        Defendant.                                 §



                                NOTICE OF COMPLIANCE

       Defendants NetScout Systems, Inc. and Sandvine Corporation hereby notify the Court

that they have complied with the Court’s September 26, 2019, Eleventh Amended Docket

Control Order [Dkt.139], by serving their Objections to Pretrial Disclosures and Rebuttal Pretrial

Disclosures on Plaintiff’s counsel via electronic mail on October 18, 2019.


Dated: October 21, 2019                           Respectfully submitted,

                                                  /s/ Melissa R. Smith
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                                                  Attorneys for Defendants
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                                                  Sandvine Corporation




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have

consented to electronic services are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) on this the 21st day of October, 2019.

                                                  /s/ Melissa R. Smith
                                                  Melissa R. Smith




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